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                           UNITED STATED DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


   ERIC RITTER,
                                              Case No. 8:15-cv-00965-SDM-AEP
         Plaintiff,

   v.

   WELLS FARGO BANK, N.A., a
   foreign corporation,

         Defendant.
                                     /

                       DEFENDANT’S NOTICE OF SETTLEMENT

         Defendant Wells Fargo Bank, N.A., hereby gives notice, pursuant to Middle

   District of Florida Local Rule 3.08, that the above captioned case has settled.




                                       /s/ Roxanne Fixsen
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                               CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on this 11th day of February, 2016, a true and

   correct copy of the foregoing was furnished via email to:

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                                              /s/ Roxanne Fixsen
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